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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

CURTIS R. MELLOTT, Individually And )
On Behalf Of All Others Similarly   )
Situated                            )
                  Plaintiff,        )              CIVIL ACTION FILE NO.
       v.                           )              1:05-CV-1340-JTC
                                    )
CHOICEPOINT INC., CHOICEPOINT       )
INC. GROUP BENEFITS                 )
COMMITTEE, COMPENSATION             )
AND BENEFITS COMMITTEE,             )
TERRENCE MURRAY, JOHN J.            )
HAMRE, JOHN B. McCOY, BONNIE        )
G. HILL, JOHN H. KARR, STEVEN       )
W. SURBAUGH, and JOHN DOES          )
1-50,                               )
                Defendants.         )
____________________________________)

     NOTICE OF AMENDMENT TO STIPULATION OF SETTLEMENT

        Come now Curtis R. Mellott, ChoicePoint Inc., Terrence Murray, John J.

Hamre, John B. McCoy, Bonnie G. Hill, John H. Karr, and Steven W. Surbaugh

(collectively the “Parties”) and hereby file the following amendment to the

Stipulation of Settlement (the “Stipulation”) (Docket No. 53).

        On November 21, 2007, the Parties filed the Stipulation, which

memorializes the terms of the proposed settlement in this action. The Parties have

agreed to amend the Stipulation as follows:


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        The “Release,” paragraph eight on pages 13-15 of the Stipulation, is deleted

in its entirety and replaced with the following:

        Except as provided in Paragraphs 11 and 30, upon Complete
        Settlement Approval, Plaintiff, Members of the Settlement Class, and
        the Plan (subject to review and approval by the Independent
        Fiduciary) shall release any and all claims of any nature whatsoever
        arising during the period between March 12, 2004 through and
        including February 6, 2006, the date of the filing of the Amended
        Complaint (including claims for any and all losses, damages, unjust
        enrichment, attorney fees, disgorgement of fees, litigation costs,
        injunction, declaration, contribution, indemnification or any other type
        or nature of legal or equitable relief) for losses suffered by the Plan,
        Plan participants, or beneficiaries (“Released Claims”) (i) against any
        and all of the Defendants, and the current or former officers, directors,
        employees, insurers, attorneys, affiliates, subsidiaries, committees,
        managers, fiduciaries, or agents of any Defendant, including, without
        limitation, ChoicePoint Inc., and current or former members of its
        board of directors including, without limitation, Derek V. Smith,
        Douglas C. Curling, John J. Hamre, Kenneth G. Langone, John B.
        McCoy, Terrence Murray, Ray M. Robinson, Charles I. Story, M.
        Anne Szostak, and E. Renae Conley, and any fiduciary of the Plan
        during the Class Period (“Releasees”), whether accrued or not,
        whether already acquired or acquired in the future, whether known,
        unknown, or unsuspected, in law or equity, as well as any claim or
        right obtained by assignment, brought by way of demand, complaint,
        cross-claim, counterclaim, third party claim or otherwise, arising out
        of any or all of the acts, omissions, facts, matters, transactions or
        occurrences that are, were or could have been alleged, asserted, or set
        forth in the Amended Complaint or would be barred by principles of
        res judicata if the claims asserted in the Amended Complaint had
        been fully litigated and resulted in a final judgment in Defendants’
        favor, including but not limited to claims that Defendants and any
        fiduciaries of the Plan breached ERISA fiduciary duties in connection
        with (a) the acquisition and holding of ChoicePoint stock by the Plan
        or the Plan’s participants, (b) the appointment and/or monitoring of
        the Plan’s fiduciaries regarding the Plan’s investment in ChoicePoint
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        stock, or (c) the provision of information to the Plan’s fiduciaries or
        participants and beneficiaries of the Plan regarding ChoicePoint or
        ChoicePoint stock; and (ii) against the applicable Executive Protection
        Portfolio Fiduciary Liability Coverage Section Policy No. 8152-9857,
        or any other applicable policy, with respect to coverage for the
        Released Claims under clause (i) of this Paragraph 8.

        Respectfully submitted this 15th day of August, 2008.

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         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1C
                   and CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was formatted in accordance
with Local Rule 5.1C in Times New Roman font, 14 point type, and that on August
15th, 2008, I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system which will automatically send email notification of such filing to
the following attorneys of record:

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